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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

XIAMEN LOTA
INTERNATIONAL CO., LTD.

Plaintiff,
V Civil Action No. 13-cv-2778

INTEGRATED SALES SOLUTIONS LLC,
and ZOJE KITCHEN & BATH CO., LTD.

Defendants.

 

 

ORDER FOR PERMANENT INJUNCTION

1. This matter comes before the Court on the joint motion of Plaintiff, Xiamen Lota
International Co., Ltd. (“Lota”), and Defendant, Integrated Sales Solutions, LLC (“Integrated
Sales”), for enforcement of the Settlement Agreement between the parties, which includes an
agreement for entry of an agreed-upon Order for Permanent Injunction.

2. Lota is the assignee of United States Patent No. 7,044,506, entitled “Quick
Connector Assembly” (“the “506 patent”). The ‘506 patent was duly and legally issued by the
U.S. Patent Office.

a On April 12, 2013, Lota filed this action for infringement of the ‘506 patent
against Defendants Integrated Sales and Zoje Kitchen & Bath Co., Ltd. (“Zoje”).

4, The action arises under 35 U.S.C. §271. Thus, the Court has original subject
matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.

a This Court has personal jurisdiction over Integrated Sales and Zoje.

6. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and/or

1400(b).
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‘ds The parties wish to resolve this matter, and agree to the entry of a Permanent
Injunction barring the promotion, sale, offer for sale, distribution, or importation of the accused
products by Integrated Sales and Zoje.

IT IS HEREBY ORDERED:

8. Integrated Sales Solutions LLC (“Integrated Sales”) and Zoje Kitchen & Bath
Co., Ltd. (“Zoje”), and their respective shareholders, directors, officers, employees, and agents,
and their successors and assigns, and all persons in active concert or participation with them who
receive actual notice of the Court’s order, shall be enjoined and restrained from promoting,
manufacturing, selling, offering to sell, distributing, and/or importing into the United States
either the connector, or the faucet/connector combination, shown in the photographs attached as
Exhibits A and B, without Lota’s approval, consent or authorization.

9. All court dates previously set in this matter are stricken.

Dated: Seegusd YL, 20144 BY THE COURT:
Ct. Blo Offa stu

Milton I. Shadur
United States District Judge

 
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EXHIBIT A
to
ORDER FOR PERMANENT INJUNCTION

 
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EXHIBIT B
to
ORDER FOR PERMANENT INJUNCTION

 
